       Case 2:23-cr-00092-DLR Document 20 Filed 02/14/23 Page 1 of 2



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                          No. CR-23-00092-PHX-DLR
10                         Plaintiff,
                                                        ORDER
11   v.
12   Roberto Lozano Partida, III,                       (1st Request)
13                         Defendant.
14
15          Upon motion of Defendant, with no objection by the Government, and good cause
16   appearing,
17          IT IS ORDERED granting Defendant's Motion to Continue Trial and Motion to
18   Extend Pretrial Motion Deadline (Doc. 19) for the reasons stated in Defendant's motion,
19   including that defense counsel needs additional time to prepare for trial.
20          This Court specifically finds that the ends of justice served by granting a
21   continuance outweigh the best interests of the public and the defendant in a speedy trial.
22   This finding is based upon the Court's conclusion that the failure to grant such a
23   continuance would deny defendant the reasonable time necessary for effective preparation,
24   taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).
25          IT IS FURTHER ORDERED continuing the trial from March 7, 2023, to, May 2,
26   2023 at 9:00 a.m. and continuing the pretrial motion deadline until April 11, 2023.
27          IT IS FURTHER ORDERED that if any subpoenas were previously issued and
28   served in this matter, that they remain in effect and are answerable at the new trial date and
       Case 2:23-cr-00092-DLR Document 20 Filed 02/14/23 Page 2 of 2



 1   the party who served the subpoena should advise the witnesses of the trial date.
 2         The Court finds excludable delay under Title 18 U.S.C §3161(h)(7)(A) from
 3   3/8/2023 to 5/2/2023.
 4         Dated this 14th day of February, 2023.
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                                                  Douglas L. Rayes
 9                                                United States District Judge
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